Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 1 of 10




                                                                         10
Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 2 of 10
Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 3 of 10
Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 4 of 10
Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 5 of 10
Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 6 of 10
Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 7 of 10
Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 8 of 10
Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 9 of 10
Case 2:17-cv-10721-JTM-JVM Document 327-12 Filed 01/12/21 Page 10 of 10
